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                            EXHIBIT 1
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RICHARD A . SCHONFEL D . CHARTERED                                                                      t 702 ) 384- S563
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                                                                                                        (702) 598-142 5


                                                September 27, 2024

    Via email L.TW a.usuoj .gov


    Leo J. Wise
    Principal Senior Assistant Special Counsel
    U.S. Department of Justice
    950 Pennsylvania Avenue, NW
    RoomB-200
    Washington, DC 2053 0

             Re:      United States v. Smirnov, 2:24-cr-00091-ODW

    Dear Mr. Wise:

            I write regarding the government's discovery production m the above-
     referenced case.

           First, we have previously sent three letters (dated March 5, May 28, and
     August 28, 2024) requesting certain specific discovery in addition to (or, as part of)
     the government's discovery obligations under Rule 16, Jencks, Brady, and Giglio,
     among others. Our comparison between our letters and the discovery that the
     government has produced to date reveals that we have not received complete (or,
     any) ruscovery, as follows :

     I.      March 5 letter (no discovery in response to request, by paragraph)

              •       17      [No discovery.]
              •       ,II O [We assume your response only includes
                       in which case we have received nothing in response to subparagraphs
                      (a) through (h). We are in receipt of a recorded interview, repotts of
                       interviews, grand jury testimony, grand jury subpoena, photographs of
                      messages between him and AS, and photos of passport.]
              •       ,I12 [We do not see this assessment.]
                                                                 1
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         •       iI23   [We do not see any communication from the FBl's Pitt.)
         •       iI37   [We see no response from Mr. Weiss' team.]

         In addition to the foregoing, the government's response raises the following
  issues regarding our March 5 letter:

         •         ,II 9 [Some responsive discovery was provided in government
                  production no. 1 (with                 travel summary), but we do not
                  have any records of compensation, cooperation benefits, or equivalent
                  items, pertaining to the government's witnesses.)
         •         ,I,I24-27    [The only item that appears responsive regarding
                  communications between AS and Associate 2 are some emails, texts,
                  and travel records; none of these, however, appear to relate to
                  interaction with Burisma officials.]
         •         ,I38 [We received the CHS reporting document in government
                  production no. 1, but there appears to be more communication on this
                  topic that has not been produced.]

  II.    May 28 Letter

          •       The production of only three FD l 023s appears to be incomplete, given
                  the duration of the contact between AS and his handler. We need all
                  FD 1023's from the beginning of their relationship.

  III.    August 28 Letter

          •       We have not, since our specific August 28, 2024 request, received any
                  discovery related to Hunter Biden' s or Mr. Smirnov's work or
                  interaction with Burisma. This request included, but was not limited to
                  State Department released to information that was provided to the New
                  York Times and a letter that was evidently sent by Hunter Biden to the
                  Italian Embassy.

        Second, we need to confirm that the government has provided us with all
  discovery documenting any contact or communication between Mr. Smirnov and his
  handler. In particular, we have not received any evidence from this category of
  discovery reflecting Smirnov-Handler communications dating from before 2016.
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       We thus request discovery evidence any and all such contacts or communications,
       from any date.

              Third, should the government possess, but decline to produce, any
       discoverable evidence of any sort (including, but not limited to pre"2016
       communications), we request that you 1) state your position in writing, and 2) set
       forth the basis of the refusal to produce it.

               Finally, the CIPA restrictions in this case 1) have limited defense counsel, to
        date, to only one authorized viewing (in the Secure Unit in Los Angeles) of that
        discovery, and 2) necessarily preclude any substantive discussion in this letter of any
        viewed CIPA-discovery. Should you believe that any restricted CIPA-discovery is
        responsive to any of the items identified in this letter, please notify me about that
        fact only (with nothing substantive), so that the parties and security officers can
        agree on a mutually acceptable way to further Mr. Smimov's effective trial
        preparation without compromising any aspect of the statutory CIPA restrictions, the
        Protective Order, or the government's interest in confidentiality.

                      Thank you for your attention to this matter.

                                                                         Sincerely,

                                                                         CHESNOFF & SCHONFELD

                                                                         ~
                                                                         David Z Chesnoff, Esq.


        cc: deh@usdoj .gov; sean.muhyne@usdoj. gov; christopher.riga1i2@usdoj.gov




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